

Hershko v Troutman Sanders, LLP (2021 NY Slip Op 02245)





Hershko v Troutman Sanders, LLP


2021 NY Slip Op 02245


Decided on April 13, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 13, 2021

Before: Kapnick, J.P., Kern, Singh, Scarpulla, JJ. 


Index No. 451878/16 Appeal No. 13559N Case No. 2020-00118 

[*1]Isaac Hershko et al., Plaintiffs-Respondents,
vTroutman Sanders, LLP, et al., Defendants, The Berkman Office, LLC, et al., Nonparty-Appellants.


Skarzynski Marick &amp; Black LLP, New York (Evan Shapiro of counsel), for appellants.



Order, Supreme Court, New York County (Robert D. Kalish, J.), entered December 4, 2019, which denied nonparty appellants' motion for sanctions against plaintiffs, unanimously affirmed, with costs.
Appellants ceased to be parties to this action on June 25, 2018, when judgment was entered dismissing the complaint as against them. Thus, when they moved for sanctions on September 11, 2019, the court was not authorized to award sanctions to them (22 NYCRR 130-1.1[a] ["The court, in its discretion, may award (costs) to any party or attorney in any civil action or proceeding before the court"]). Were we to address the merits, we would find that sanctions are not warranted.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 13, 2021








